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8/8/2017                                                                              Metrc | The System




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           The System

           Franwell is extremely excited about metrc being the system of record for the protection of both
           the public and support of the governing bodies in charge of this rapidly growing industry.               Marijuana
           Franwell believes that only through the harvest and use of quality data can municipalities and
           the public at large feel confident to take the next steps on the road to complete and fair
                                                                                                                    Enforcement
           regulation industry wide.                                                                                Tracking
           Metrc has both an industry side and regulatory side. The industry side is used to report the             Reporting
           required events and information while the regulatory side is used for enforcement and
           compliance monitoring. Franwell believes that Metrc can be the primary tool for fighting against
                                                                                                                    Compliance
           diversion and illegal use and purchase of cannabis.
                                                                                                                    Metrc is first and foremost a regulatory compliance
                                                                                                                    system, unlike any application on the market. Built
           Regulatory features
                                                                                                                    by regulators specifically for oversight; Metrc
                                                                                                                    provides the necessary visibility for adherence to
               Supports marijuana "regulations" with technology to prevent and monitor drug diversions              rules, regulations and statues.
               Promotes public safety and patient product safety with traceability
               Addresses medical marijuana "diversion" from a "state mandated" position
               Creates a vertically integrated "closed-loop" medical marijuana regulatory scheme                    - Rules-based alerts
               which stems, in part, from the landmark 2005 California case, Gonzales vs. Raich (If you             - Chain of custody
               can demonstrate a closed loop, in which no marijuana crosses state borders, it strengthens           - Process metrics
               against federal intervention)                                                                        - Credentialing
               By the use of RFID (Radio Frequency Identification) technology combined with serialized              - Transfer manifesting
               item tracking, the system creates an "end to end" surveillance system where the                      - Event level monitoring date
               municipality has real-time visibility at any given time into the "inventory" at all the locations      and time stamping
               (does not rely on audits for tracking)                                                               - Highly secure RFID tags
               Central control of security through RFID secure tag ID                                               - Notifications
               Captures perpetual inventory quantities for each entity                                              - Trend analysis
               Provides an inspection process with the tools necessary to complete onsite validation of             - Auditing / Inspections using RFID
               inventory with audit capability and anti-piracy safeguards                                           - Investigations
               Supports the auditing process from a series of exception reports                                     - Enforcement support
               Provides the industry with the means to report required inventories with minimal cost and            - Seek and find capability
               investment - can remain cost neutral to the regulatory body.                                         - Plant, Harvest, & Package tracking
               The system maintains a secure reporting environment for each industry participant. Each              - Activity of licensed employees
               participant can access their own data but no other participants' data. The regulator has             - Lab testing (automatic on-hold &
               access to all industry participants data                                                               real-time results)
               The system provides for a real time digital transport manifest giving access to law                  - Buy Card “using RFID”
               enforcement enabling them to quickly discover illegal activity during transportation                   (validation, authentication, &
               Tracks transfers between licensed premises                                                              amount verification)
               Allows regulatory users to view all licensee activities captured in the system                       - Registries and licensing for
               Creates audit trails and tools for assessing risk and channeling resources more efficiently            (Businesses, Facilities, Users,
               (e.g. system notifications and reporting)                                                               Employees, Patients, Buyers,
               Creates a industry database of analytical information to establish trends and benchmarks                Physicians, Strains, & Items)
               for marijuana production                                                                             - Help Desk
               Allows criminal investigators to streamline field enforcement and compliance activities              - Many Reports & SSRS support
               associated with licensees
               Provides aggregate data regarding cultivation, production, transportation and sales of               And more....
               marijuana within the regulated model
               Secure web hosted solution scaling to thousands of credentialed users




                                                                                                                                               Metrc_Snapshot_v1.0.pdf


            IT Components Parts

            Metrc is a web-based solution made up of a browser interface and a mobile application for both the industry and regulatory users. The backend is a series
            of secure Web Services, Database and an API. Each regulatory body can decide whether to allow external systems the use of an API to pull data on a
            secure validated connection. Finally, the regulatory body can use the reporting engine to build adhoc reports based on their individual needs.




                                                                                         EXHIBIT 8
https://www.metrc.com/the-system                                                                                                                                          1/2
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